                       Case 5:21-cv-00287-JWH-KK Document 33 Filed 06/17/22 Page 1 of 6 Page ID #:685



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                11                            UNITED STATES DISTRICT COURT
                12                           CENTRAL DISTRICT OF CALIFORNIA
                13       TAI HANG and ROBERT                   )   CLASS ACTION
                         CANALES, on behalf of                 )
                14       themselves and all others similarly   )   Case No.: 5:21-cv-00287-JWH-KK
                         situated,                             )
                15                                             )   PLAINTIFFS’ SUPPLEMENTAL
                               Plaintiffs,                     )   BRIEF BY REGARDING THE
                16                                             )   EFFECT OF THE NARANJO
                               v.                              )   DECISION ON DEFENDANT’S
                17                                             )   MOTION TO DISMISS THIRD
                         OLD DOMINION FREIGHT                  )   AMENDED COMPLAINT
                18       LINE, INC., a Virginia                )
                         corporation; and DOES 1 to 100,       )   Honorable John W. Holcomb
                19       inclusive,                            )   Courtroom 2
                                                               )
                20             Defendants.                     )   Hearing: October 1, 2021
                                                               )   Time: 9:00 a.m.
                21                                             )
                                                               )   Action filed: November 6, 2020
                22                                             )   Trial Date: None Set
                23      ///
                24      ///
                25      ///
                26

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                         PLAINTIFFS’ SUPPLEMENTAL BRIEF BY REGARDING THE EFFECT OF THE
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                                                  COMPLAINT
                       Case 5:21-cv-00287-JWH-KK Document 33 Filed 06/17/22 Page 2 of 6 Page ID #:686



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                   7    ///
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                                                  COMPLAINT
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                1                    SUPPLEMENTAL BRIEF REGARDING NARANJO
                2       I.    INTRODUCTION
                3              Defendant Old Dominion Freight Line, Inc. filed a Motion to Dismiss and
                4       Strike Plaintiffs Tai Hang and Robert Canales’ Third Amended Complaint (TAC)
                5       under Federal Rules of Civil Procedure, rules 12(b)(6) and 12(f).
                6              After the briefing on Defendant’s Motion was completed, on May 23, 2022,
                7       the California Supreme Court issued Naranjo v. Spectrum Sec. Servs., Inc., No.
                8       S258966, -- P.3d --, 2022 WL 1613499 (Cal. May 23, 2022). Naranjo held that
                9       unpaid break premiums support claims under Labor Code § 203 and Labor Code §
             10         226. Specifically, in rejecting the conclusion of the court of appeal that meal period
             11         and rest break premiums are a legal remedy rather than a wage for work
             12         performed, the California Supreme Court concluded that these premiums must be
             13         reported on the employee’s wage statements and paid within the statutory deadline
             14         for all wages due upon separation of employment. Id. at *11, 14. The court
             15         reasoned that the premiums are not just intended to provide compensation for the
             16         missed meal period or rest break, but also “for the work the employee performed
             17         during the break period.” Id. at *1. Further, the court ruled that failure to pay
             18         premiums owed deprives the employee of information needed to evaluate whether
             19         the payment is correct, and in so doing results in injury under the terms of Section
             20         226. Id. at *13.
             21                Accordingly, under this binding precedent, several arguments in Defendant's
             22         Motion to Dismiss Plaintiff's Third Amended Complaint are invalid.
             23         Specifically, Naranjo defeats Defendant’s arguments that unpaid rest period
             24         premiums do not support violations of Labor Code §§ 203 and 226. Naranjo also
             25         invalidates Defendant’s argument that Plaintiffs’ Fourth Cause of Action does not
             26         properly allege that Defendant’s conduct caused injury. Finally, Naranjo clarifies
             27         that Plaintiff's claims for civil penalties under PAGA and restitution under the
             28         UCL are valid. In sum, Naranjo eliminated several of Defendant’s arguments in its
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                           ON DEFENDANT’S MOTION TO DISMISS THIRD AMENDED COMPLAINT
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                1       Motion to Dismiss.
                2               As such, on May 24, 2022, Plaintiffs filed a Notice of New Authority in
                3       Support of Their Opposition to Defendant’s Motion to Dismiss Third Amended
                4       Complaint. ECF No. 30.
                5               On June 6, 2022, the Court directed the parties to meet and confer regarding
                6       the effect of the Naranjo decision on the instant case. The Court’s June 6, 2022,
                7       order further directed the parties to file supplemental briefs by 12:00 p.m. on June
                8       17, 2022 regarding the effect of the Naranjo decision on this case.
                9               On June 13, 2022, Plaintiffs’ counsel sent meet and confer correspondence
             10         to Defendant’s counsel, addressing how Naranjo affects Defendant’s motion to
             11         dismiss.
             12               II. DEFENDANT’S WITHDRAWAL OF ARGUMENTS IMPACTED BY
             13                 NARANJO.
             14                 Defendant substantively responded to Plaintiffs’ meet and confer at 9:32
             15         a.m. on June 17, 2022. Defendant represented that it will withdraw the following
             16         sections of its Motion to Dismiss, as well as the corresponding arguments in its
             17         Reply brief:
             18                            Page, Line Numbers in       Section Number in
                                            Memorandum ISO             Memorandum ISO
             19                                   Motion                     Motion
                                                 [Dkt. #20]                [Dkt. #20]
             20
                                         9:7-10:25                   III.C.1
             21
                                         10:26-12:4                  III.C.2
             22
                                         13:7-16:6                   III.C.4
             23
                                         16:7-17:12                  III.C.5
             24
                                         19:16-20:17                 III.D.2
             25

             26
                                         21:26, 22:20-23:5           Portions of III.F.2

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                1              Defendant’s withdrawal of these sections addresses all arguments affected
                2       by Naranjo except for one. To the extent that Defendant argues that Plaintiffs’
                3       PAGA claim is derivative of “factually and legally insufficient allegations” (ECF
                4       No. 20, 20:19-21), Naranjo also forecloses this argument regarding the claims for
                5       inaccurate wage statements and failure to pay final wages. Accordingly,
                6       Defendant’s motion to dismiss the PAGA claim must be denied.
                7              In sum, Defendant’s anticipated withdrawal, per its counsel’s representation,
                8       eliminates the above-referenced sections in accordance with Naranjo.
                9       Consequently, Plaintiffs need not file the Supplemental Brief that had already been
             10         drafted when Defendant belatedly met and conferred regarding the Court’s June 6,
             11         2022 Order.
             12         III.   CONCLUSION
             13                For the foregoing reasons, plus those asserted in Plaintiffs’ Opposition to
             14         Defendant’s Motion to Dismiss, Plaintiffs respectfully request that the Court deny
             15         Defendant’s Motion to Dismiss Plaintiffs’ TAC.
             16         Dated: June 17, 2022                   LAW OFFICES OF KEVIN T. BARNES
             17
                                                               By:    /s/ Gregg Lander
             18                                                       Kevin T. Barnes, Esq.
             19
                                                                      Gregg Lander, Esq.
                                                                      Attorneys for Plaintiffs
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 1                                  PROOF OF SERVICE
 2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3          I, the undersigned, am over the age of 18 years and not a party to this action.
      My business address is 1635 Pontius Avenue, Second Floor, Los Angeles, CA
 4    90025-3361, which is located in Los Angeles County, where the service herein
      occurred.
 5
           On the date of execution hereof, I caused to be served the following attached
 6    document/s:
 7        PLAINTIFFS’ SUPPLEMENTAL BRIEF REGARDING THE
      EFFECT OF NARANJO ON DEFENDANT’S MOTION TO DISMISS
 8    THIRD AMENDED COMPLAINT
 9          on the interested parties in this action, addressed as follows:
10     Attorneys for Defendant:                 Attorney for Plaintiff Tai Hang:
11     Matthew C. Kane, Esq.                    Raphael A. Katri, Esq.
       Amy E. Beverlin, Esq.                    LAW OFFICES OF
12     Kerri H. Sakaue, Esq.                    RAPHAEL A. KATRI
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19                                              Fax: (310) 553-5536
                                                Email: JFT@stonebrooklaw.com
20
            using the following service methods:
21
         X VIA ELECTRONIC SERVICE: The above documents were
22    electronically filed with the Clerk of the Court using the CM/ECF system, which
      sent notification of such filing to the above interested parties.
23
      I DECLARE under penalty of perjury that the foregoing is true and correct.
24
      Executed on June 17, 2022, at Los Angeles, California.
25
                                                    /s/ Cindy Rivas
26                                                  Cindy Rivas
27

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                                      PROOF OF SERVICE
